                                Case:23-00131-jwb                Doc #:1 Filed: 01/20/2023                    Page 1 of 32


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                517 Automotive and Repair, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  721 Chilson Avenue                                              240 W. High Street
                                  Lansing, MI 48906                                               Ovid, MI 48866-9300
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ingham                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  240 W. High Street Ovid, MI 48866-9300
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                Case:23-00131-jwb                   Doc #:1 Filed: 01/20/2023                        Page 2 of 32
Debtor    517 Automotive and Repair, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7538

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                  Case:23-00131-jwb                      Doc #:1 Filed: 01/20/2023                      Page 3 of 32
Debtor    517 Automotive and Repair, LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                         Case:23-00131-jwb             Doc #:1 Filed: 01/20/2023                  Page 4 of 32
Debtor   517 Automotive and Repair, LLC                                             Case number (if known)
         Name


                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                Case:23-00131-jwb                Doc #:1 Filed: 01/20/2023                       Page 5 of 32
Debtor    517 Automotive and Repair, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 20, 2023
                                                  MM / DD / YYYY


                             X   /s/ Elias Scot Amon                                                      Elias Scot Amon
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ Kristen L. Krol                                                       Date January 20, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kristen L. Krol P55103
                                 Printed name

                                 Debt Relief Legal Clinic, PLLC
                                 Firm name

                                 4710 W. Saginaw Highway, Suite C
                                 Lansing, MI 48917-2654
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (517) 321-6804                Email address      debtrlc@drlc.com

                                 P55103 MI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                            Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023                   Page 6 of 32




Fill in this information to identify the case:

Debtor name         517 Automotive and Repair, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 20, 2023                X /s/ Elias Scot Amon
                                                           Signature of individual signing on behalf of debtor

                                                            Elias Scot Amon
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                      Case:23-00131-jwb                                  Doc #:1 Filed: 01/20/2023                                           Page 7 of 32

Fill in this information to identify the case:

Debtor name           517 Automotive and Repair, LLC

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $            21,000.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $            21,000.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            31,653.70


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              4,399.09

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            20,152.14


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $               56,204.93




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                               Case:23-00131-jwb              Doc #:1 Filed: 01/20/2023                       Page 8 of 32

Fill in this information to identify the case:

Debtor name         517 Automotive and Repair, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Huntington Bank
          3.1.     (negative balance)                                Checking                              0723                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                             Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023            Page 9 of 32

Debtor       517 Automotive and Repair, LLC                                            Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Various automotive repair tools                                       Unknown        N/A                                $1,000.00


          Various automotive repair hand tools and A/C
          recharge and recovery machine                                         Unknown        N/A                               $20,000.00




51.       Total of Part 8.                                                                                                   $21,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
                               Case:23-00131-jwb                 Doc #:1 Filed: 01/20/2023                    Page 10 of 32

Debtor        517 Automotive and Repair, LLC                                               Case number (If known)
              Name

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used      Current value of
                                                                        debtor's interest          for current value          debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Automotive repair license expired in February
           2022                                                                          $0.00                                                $0.00



63.        Customer lists, mailing lists, or other compilations
           Customer information was maintained in
           billing software to which Debtor no longer has
           access, due to nonpayment of monthly
           subscription; no other "list" of customers was
           maintained                                                                    $0.00                                                $0.00



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 3
                                  Case:23-00131-jwb                           Doc #:1 Filed: 01/20/2023                              Page 11 of 32

Debtor          517 Automotive and Repair, LLC                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $21,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $21,000.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $21,000.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
                                   Case:23-00131-jwb                   Doc #:1 Filed: 01/20/2023                 Page 12 of 32

Fill in this information to identify the case:

Debtor name         517 Automotive and Repair, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Matco Tools Corporation                      Describe debtor's property that is subject to a lien                     $7,450.30                $1,000.00
      Creditor's Name                              Various automotive repair tools
      4403 Allen Road
      Stow, OH 44224-1096
      Creditor's mailing address                   Describe the lien
                                                   PMSI
      inhousecollection@matcot                     Is the creditor an insider or related party?
      ools.com                                        No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      6/2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1224
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Snap On Credit                               Describe debtor's property that is subject to a lien                   $24,203.40                $20,000.00
      Creditor's Name                              Various automotive repair hand tools and A/C
      950 Technology Way                           recharge and recovery machine
      Suite 301
      Libertyville, IL 60048
      Creditor's mailing address                   Describe the lien
                                                   PMSI
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/2018                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9904
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                               Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023                       Page 13 of 32

Debtor      517 Automotive and Repair, LLC                                                     Case number (if known)
            Name

          No                                       Contingent
          Yes. Specify each creditor,              Unliquidated
      including this creditor and its relative     Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $31,653.70

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
                                 Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023                          Page 14 of 32

Fill in this information to identify the case:

Debtor name        517 Automotive and Repair, LLC

United States Bankruptcy Court for the:          WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $2,898.06         $2,898.06
          Internal Revenue Service                             Check all that apply.
          Centralized Insolv. Operations                          Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
          9/2022                                               Form 941 Withholding Taxes

          Last 4 digits of account number 8212                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,501.03         $1,501.03
          Michigan Dept of Treasury                            Check all that apply.
          Collection Division                                     Contingent
          PO Box 30199                                            Unliquidated
          Lansing, MI 48909                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
          4/2022                                               Michigan Withholding Tax

          Last 4 digits of account number 8212                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               46768
                             Case:23-00131-jwb                Doc #:1 Filed: 01/20/2023                           Page 15 of 32

Debtor       517 Automotive and Repair, LLC                                                  Case number (if known)
             Name

3.1       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $737.83
          Advance Professional                                         Contingent
          PO Box 742063                                                Unliquidated
          Atlanta, GA 30374-2063                                       Disputed
          Date(s) debt was incurred 7/14/2022
                                                                    Basis for the claim:    Auto Parts Bill
          Last 4 digits of account number 0271
                                                                    Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $805.69
          Eric Neumann                                                 Contingent
          2479 Eifert Road                                             Unliquidated
          Holt, MI 48842                                               Disputed
          Date(s) debt was incurred   2019-2021                                   Overtime wages as assessed by MI Dep't of Labor
                                                                    Basis for the claim:
          Last 4 digits of account number                           and Economic Opportunity
                                                                    Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,008.32
          Huntington National Bank                                     Contingent
          PO Box 2360                                                  Unliquidated
          Omaha, NE 68103-2360                                         Disputed
          Date(s) debt was incurred 11/2022
                                                                    Basis for the claim:    Overdraft Balance
          Last 4 digits of account number 0723
                                                                    Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $491.07
          Intuit, Inc.                                                 Contingent
          Payroll Services                                             Unliquidated
          6884 Sierra Center Parkway                                   Disputed
          Reno, NV 89511
                                                                    Basis for the claim:    Wages paid on behalf of 517 Automotive
          Date(s) debt was incurred 8/26/2022
          Last 4 digits of account number 3941                      Is the claim subject to offset?     No       Yes


3.5       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $278.95
          Kamins Auto Parts                                            Contingent
          526 N. Larch Street                                          Unliquidated
          Lansing, MI 48912                                            Disputed
          Date(s) debt was incurred  8/2022                         Basis for the claim:    Auto Parts Bill
          Last 4 digits of account number 0546
                                                                    Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,091.90
          Rowerdink, Inc.                                              Contingent
          1339 E Main Street                                           Unliquidated
          Lansing, MI 48912-1929                                       Disputed
          Date(s) debt was incurred 2022
                                                                    Basis for the claim:    Auto Parts Bill
          Last 4 digits of account number   3833
                                                                    Is the claim subject to offset?     No       Yes

3.7       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,738.38
          Square Financial Services, Inc                               Contingent
          3165 E. Millrock Drive                                       Unliquidated
          Suite 160                                                    Disputed
          Salt Lake City, UT 84121
                                                                    Basis for the claim:    Signature Loan
          Date(s) debt was incurred 8/2021
          Last 4 digits of account number 2MPV                      Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 3
                               Case:23-00131-jwb                   Doc #:1 Filed: 01/20/2023                           Page 16 of 32

Debtor      517 Automotive and Repair, LLC                                                         Case number (if known)
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
4.1       Advance Stores Company, Inc.
          5008 Airport Road                                                                       Line     3.1                                      0271
          Roanoke, VA 24012
                                                                                                         Not listed. Explain

4.2       Celtic Bank Corporation
          268 S. State Street, Suite 300                                                          Line     3.7
          Salt Lake City, UT 84111-5314
                                                                                                         Not listed. Explain

4.3       MI Dept of Labor & Econ. Opp.
          Wage and Hour Division                                                                  Line     3.2                                      4634
          PO Box 30476
                                                                                                         Not listed. Explain
          Lansing, MI 48909-7976

4.4       Ronald B Rich & Associates
          30665 Northwestern Hwy                                                                  Line     3.6                                      0629
          Suite 280
                                                                                                         Not listed. Explain
          Farmington, MI 48334

4.5       Square Capital, LLC
          1455 Market Street                                                                      Line     3.7
          San Francisco, CA 94103
                                                                                                         Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
5a. Total claims from Part 1                                                                         5a.         $                      4,399.09
5b. Total claims from Part 2                                                                         5b.    +    $                     20,152.14

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.         $                          24,551.23




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
                            Case:23-00131-jwb                 Doc #:1 Filed: 01/20/2023                     Page 17 of 32

Fill in this information to identify the case:

Debtor name       517 Automotive and Repair, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                          Case:23-00131-jwb                Doc #:1 Filed: 01/20/2023                    Page 18 of 32

Fill in this information to identify the case:

Debtor name      517 Automotive and Repair, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Elias S. Amon               240 W. High Street                                        Matco Tools                        D   2.1
                                      Ovid, MI 48866-9300                                       Corporation                        E/F
                                                                                                                                   G




   2.2    Elias S. Amon               240 W. High Street                                        Snap On Credit                     D   2.2
                                      Ovid, MI 48866-9300                                                                          E/F
                                                                                                                                   G




   2.3    Elias S. Amon               240 W. High Street                                        Square Financial                   D
                                      Ovid, MI 48866-9300                                       Services, Inc                      E/F       3.7
                                                                                                                                   G




   2.4    Elias S. Amon               240 W. High Street                                        Michigan Dept of                   D
                                      Ovid, MI 48866-9300                                       Treasury                           E/F       2.2
                                                                                                                                   G




   2.5    Elias S. Amon               240 W. High Street                                        Internal Revenue                   D
                                      Ovid, MI 48866-9300                                       Service                            E/F       2.1
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
                        Case:23-00131-jwb             Doc #:1 Filed: 01/20/2023                 Page 19 of 32

Debtor    517 Automotive and Repair, LLC                                          Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 2 of 2
                           Case:23-00131-jwb                 Doc #:1 Filed: 01/20/2023                       Page 20 of 32




Fill in this information to identify the case:

Debtor name         517 Automotive and Repair, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                          $0.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $136,402.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $191,563.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                            Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023                      Page 21 of 32
Debtor       517 Automotive and Repair, LLC                                                     Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Elias S. Amon                                         Throughout                       $17,736.49           Compensation paid by way of
             240 W. High Street                                    2022                                                  personal expenses paid
             Ovid, MI 48866-9300                                   Amount is an                                          through business checking
             Sole Member                                           estimate                                              account
                                                                   from
                                                                   available
                                                                   bank
                                                                   statements

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property

      CK Tools LLC                                     smoke machine, 1/2" impact gun, air                             11/1/2022                     $1,300.00
      26 S. Williamston Road                           hammer, lugnut socket set, scanner
      Dansville, MI 48819


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   517 Automotive and Repair,                Reimbursement               54-A Judicial District Court                    Pending
             LLC v. Eric Neumann                       for property                124 W. Michigan Avenue                          On appeal
             22-486-GC                                 damage to                   Lansing, MI 48933
                                                                                                                                   Concluded
                                                       customer vehicle
                                                       paint job;
                                                       Neumann
                                                       counterclaim for
                                                       unpaid wages




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
                            Case:23-00131-jwb                Doc #:1 Filed: 01/20/2023                       Page 22 of 32
Debtor        517 Automotive and Repair, LLC                                                     Case number (if known)



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.2.    Eric Neumann v. 517                     Unpaid wages                 MI Dept of Labor & Econ.                      Pending
              Automotive LLC                                                       Opp.                                          On appeal
              214634                                                               Wage and Hour Division
                                                                                                                                 Concluded
                                                                                   PO Box 30476
                                                                                   Lansing, MI 48909-7976


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Debt Relief Legal Clinic, PLLC
               4710 W. Saginaw Highway,
               Suite C
               Lansing, MI 48917-2654                   Attorney Fees                                                 1/20/2023                     $3,000.00

               Email or website address
               debtrlc@drlc.com

               Who made the payment, if not debtor?
               Nichole Bergey



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
                            Case:23-00131-jwb                    Doc #:1 Filed: 01/20/2023                     Page 23 of 32
Debtor        517 Automotive and Repair, LLC                                                     Case number (if known)



    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     721 Chilson Avenue                                                                                  10/2021-8/2022
                Lansing, MI 48906

      14.2.     2122 Glenn Street                                                                                   10/2017-10/2021
                Lansing, MI 48906

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
                            Case:23-00131-jwb                   Doc #:1 Filed: 01/20/2023                      Page 24 of 32
Debtor        517 Automotive and Repair, LLC                                                     Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    Huntington National Bank                 XXXX-0723                     Checking                 11/1/2022                                  $0.00
               PO Box 2360                                                            Savings
               Omaha, NE 68103-2360
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
                            Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023                      Page 25 of 32
Debtor      517 Automotive and Repair, LLC                                                      Case number (if known)




           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Craft Accounting Services                                                                                          1/2018-10/2021
                    1161 E. Clark Road, Suite 120
                    DeWitt, MI 48820
      26a.2.        John Morey                                                                                                         10/2021-9/2022
                    1000 Iowa Street
                    Alma, MI 48801

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
                            Case:23-00131-jwb                Doc #:1 Filed: 01/20/2023                       Page 26 of 32
Debtor       517 Automotive and Repair, LLC                                                    Case number (if known)




             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Elias S. Amon                          240 W. High Street                                  Sole Member                             100
                                             Ovid, MI 48866-9300



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                            Estimate of $17,736.49 from available
      .                                               bank statements, due to lost access to
             Elias S. Amon                            remaining account statements;
             240 W. High Street                       compensation was paid by way of                           Throughout
             Ovid, MI 48866-9300                      personal use of business account.                         2022                Compensation

             Relationship to debtor
             Sole Member/Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
                        Case:23-00131-jwb             Doc #:1 Filed: 01/20/2023                       Page 27 of 32
Debtor      517 Automotive and Repair, LLC                                              Case number (if known)



   Name of the pension fund                                                                    Employer Identification number of the pension
                                                                                               fund




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 8
                           Case:23-00131-jwb                  Doc #:1 Filed: 01/20/2023                       Page 28 of 32
Debtor      517 Automotive and Repair, LLC                                                      Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         January 20, 2023

/s/ Elias Scot Amon                                             Elias Scot Amon
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
                        Case:23-00131-jwb              Doc #:1 Filed: 01/20/2023                Page 29 of 32




                                               United States Bankruptcy Court
                                                    Western District of Michigan
 In re   517 Automotive and Repair, LLC                                                          Case No.
                                                                    Debtor(s)                    Chapter     7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     January 20, 2023                              /s/ Elias Scot Amon
                                                        Elias Scot Amon/Member
                                                        Signer/Title
    Case:23-00131-jwb   Doc #:1 Filed: 01/20/2023   Page 30 of 32



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              OFFICE OF THE US TRUSTEE - GR
              125 OTTAWA NW STE 200R
              THE LEDYARD BLDG 2ND FL
              GRAND RAPIDS MI 49503


              ADVANCE PROFESSIONAL
              PO BOX 742063
              ATLANTA GA 30374-2063


              ADVANCE STORES COMPANY, INC.
              5008 AIRPORT ROAD
              ROANOKE VA 24012


              CELTIC BANK CORPORATION
              268 S. STATE STREET, SUITE 300
              SALT LAKE CITY UT 84111-5314


              ERIC NEUMANN
              2479 EIFERT ROAD
              HOLT MI 48842


              HUNTINGTON NATIONAL BANK
              PO BOX 2360
              OMAHA NE 68103-2360


              INTERNAL REVENUE SERVICE
              CENTRALIZED INSOLV. OPERATIONS
              PO BOX 7346
              PHILADELPHIA PA 19101-7346


              INTUIT, INC.
              PAYROLL SERVICES
              6884 SIERRA CENTER PARKWAY
              RENO NV 89511


              KAMINS AUTO PARTS
              526 N. LARCH STREET
              LANSING MI 48912


              MATCO TOOLS CORPORATION
              4403 ALLEN ROAD
              STOW OH 44224-1096
Case:23-00131-jwb   Doc #:1 Filed: 01/20/2023   Page 31 of 32




          MI DEPT OF LABOR & ECON. OPP.
          WAGE AND HOUR DIVISION
          PO BOX 30476
          LANSING MI 48909-7976


          MICHIGAN DEPT OF TREASURY
          COLLECTION DIVISION
          PO BOX 30199
          LANSING MI 48909


          RONALD B RICH & ASSOCIATES
          30665 NORTHWESTERN HWY
          SUITE 280
          FARMINGTON MI 48334


          ROWERDINK, INC.
          1339 E MAIN STREET
          LANSING MI 48912-1929


          SNAP ON CREDIT
          950 TECHNOLOGY WAY
          SUITE 301
          LIBERTYVILLE IL 60048


          SQUARE CAPITAL, LLC
          1455 MARKET STREET
          SAN FRANCISCO CA 94103


          SQUARE FINANCIAL SERVICES, INC
          3165 E. MILLROCK DRIVE
          SUITE 160
          SALT LAKE CITY UT 84121
                      Case:23-00131-jwb          Doc #:1 Filed: 01/20/2023            Page 32 of 32




                                          United States Bankruptcy Court
                                               Western District of Michigan
 In re   517 Automotive and Repair, LLC                                                Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 517 Automotive and Repair, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




January 20, 2023                                 /s/ Kristen L. Krol
Date                                             Kristen L. Krol P55103
                                                 Signature of Attorney or Litigant
                                                 Counsel for 517 Automotive and Repair, LLC
                                                 Debt Relief Legal Clinic, PLLC
                                                 4710 W. Saginaw Highway, Suite C
                                                 Lansing, MI 48917-2654
                                                 (517) 321-6804 Fax:(517) 321-0497
                                                 debtrlc@drlc.com
